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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF OREGON
                                      PORTLAND DIVISION


     JENNIFER HARRIS,                                 "** °' CV11 - 428 HU
                                                     COMPLAINT;
                    Plaintiff,
                                                     FAIR DEBT COLLECTION PRACTICES
           vs.                                       ACT (15 USC § 1692a, et seq.);

     IQ DATA INTERNATIONAL, INC.,                    DEMAND FOR JURY TRIAL
                    Defendant.
                                       L INTRODUCTION

           1.       This is an action for damages brought by an individual consumer for

     Defendant's violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

     1692, et seq. (hereinafter "FDCPA").

                                       H. JURISDICTION

           2.       Plaintiffs claim for violations of the FDCPA arises under 15 U.S.C. §

     1692k(d), and therefore involves a "federal question" pursuant to 28 USC § 1331.

                                            III. PARTIES

           3.       Plaintiff, Jennifer Harris ("Plaintiff'), is a natural person residing in

     Multnomah County, Oregon.


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       4.      Defendant, IQ Data International, Inc., ("Defendant") is a corporation

engaged in the business of collecting debts by use of the mails and telephone. Defendant

regularly attempts to collect debts alleged due another.

                            IV. FACTUAL ALLEGATIONS

       5.      Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       6.      Plaintiff is a "consumer" as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection

with the collection of a "debt," as defined by 15 USC § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant's conduct violated the FDCPA in multiple ways,

including the following.

      9.       Threatening to take an action against Plaintiff that cannot be legally taken

or that was not actually intended to be taken, including repeatedly threatening to garnish

Plaintiffs wages, where Defendant did not yet have the benefit of a judgment (§

1692e(5)).

       10.     Contacting Plaintiff at her place of employment after being informed that

such calls are inconvenient to Plaintiff and violate the policy of Plaintiffs employer.

Defendant called Plaintiff directly at her workplace (503-667-2168) to talk with her about

setting up a payment plan for the allege debt on or about October 17, 2010. Plaintifftold

Defendant right away that she did not want to be called at work because such calls were


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inconvenient to her and violated the policies of Plaintiffs employer. Defendant called

that same number the next day despite having been informed by Plaintiffthat calls to that

number were inconvenient and violate the policy of her employer (§ 1692c(aXlX3))-

       11.    Using false representations and deceptive practices in connection with

collection of an alleged debt from Plaintiff, including stating that a negative report by

Defendant on Plaintiffs credit regarding the debt could be reported for up to 30 years.

Federal law prohibits reporting of consumer debts to 7 years, or 10 years for a debt

reduced to a judgment (§ 1692e(10)).

       12.    As a result of the aforementioned violations, Plaintiff suffered and

continues to suffer injuries to Plaintiffs feelings, personal humiliation, embarrassment,

mental anguish and severe emotional distress.

       13.    Defendant intended to cause, by means of the actions detailed above,

injuries to Plaintiffs feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

       14.    Defendant's actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       15.    To the extent Defendant's actions, detailed in paragraphs 8-11, were carried

out by an employee ofDefendant, that employee was acting within the scope of his or her

employment.

   COUNT I; VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       16.    Plaintiffreincorporates by reference all ofthe preceding paragraphs.


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              17.     The preceding paragraphs state a primafacie case for Plaintiff and against

        Defendant for violations of the FDCPA, §§ 1692c & 1692e.

                                        PRAYER FOR RELIEF

              WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

        Defendant for the following:

              A.      Declaratory judgment that Defendant's conduct violated the FDCPA;

              B.      Actual damages pursuant to 15 USC 1692k;

              C.      Statutory damages pursuant to 15 U.S.C. § 1692k;

              D.      Costs, disbursements and reasonable attorney's fees for all successful

        claims, and any unsuccessful claims arising out of the same transaction or occurrence as

        the successful claims, pursuant to 15 U.S.C. § 1692k; and,

              E.      For such other and further relief as may be just and proper.

                       PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY




                                                     Dated this 4th day ofApril, 2011

                                                         By:
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